
Upon consideration of the petition filed by Defendant on the 28th of February 2018 in this matter for a writ of certiorari to review the order of the Superior Court, Forsyth County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 9th of May 2018."
The following order has been entered on the motion filed on the 28th of February 2018 by Defendant to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 9th of May 2018."
The following order has been entered on the motion filed on the 28th of February 2018 by Defendant to Appoint Counsel:
*856"Motion Dismissed as moot by order of the Court in conference, this the 9th of May 2018."
